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  Williams Township                   Monitor Township                   95th State House District
                                                                         2001 Redistricting Plan
                                              Bay County                         Buena Vista   Charter Township
                                                                                            Portsmouth Township
                                                                                 highlighted in Saginaw County
                                       Frankenlust Township




Tittabawassee Township
                                                                                                                         Merritt Township


                                  Kochville Township
                                                                         Zilwaukee Township
                                                                                                                                  ¹
                                                                City of Zilwaukee




                                                           Carrollton Township

                                                                                          Buena Vista Township
                         Saginaw Township

                                                                                                                       Blumfield Township


   Thomas Township
                                                       City of Saginaw



                                                   Saginaw County




       James Township
                                                                                                                 Frankenmuth Township
                                                                                      Bridgeport Township
Swan Creek Township
                                   Spaulding Township




                                      Albee Township                                    Taymouth Township             Birch Run Township
  St Charles Township
                                                                               0 0.5 1         2       3         4
                                                                                                                     Miles
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  Williams Township                   Monitor Township                   95th State House District
                                                                         2011 Redistricting Plan
                                              Bay County                         Buena Vista   Charter Township
                                                                                            Portsmouth Township
                                                                                 highlighted in Saginaw County
                                       Frankenlust Township




Tittabawassee Township
                                                                                                                         Merritt Township


                                  Kochville Township
                                                                         Zilwaukee Township
                                                                                                                                  ¹
                                                                City of Zilwaukee




                                                           Carrollton Township

                                                                                          Buena Vista Township
                         Saginaw Township

                                                                                                                       Blumfield Township


   Thomas Township
                                                       City of Saginaw



                                                   Saginaw County




       James Township
                                                                                                                 Frankenmuth Township
                                                                                      Bridgeport Township
Swan Creek Township
                                   Spaulding Township




                                      Albee Township                                    Taymouth Township             Birch Run Township
  St Charles Township
                                                                               0 0.5 1         2       3         4
                                                                                                                     Miles
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                                                     88th State House District
                                                     2001 Redistricting Plan
                                                        Clyde Township highlighted
                              Ottawa
                                                            in Allegan County
                                                                        Kent




                                                                                              ¹

                                                                                            Barry
                                           Allegan




                        Van Buren                                      Kalamazoo




Berrien                                                0 1.5 3     6      9       12
                                                                                    Miles
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                                                     80th State Hosue District
                                                     2011 Redistricting Plan
                                                        Clyde Township highlighted
                              Ottawa
                                                            in Allegan County
                                                                        Kent




                                                                                              ¹

                                                                                            Barry
                                           Allegan




                        Van Buren                                      Kalamazoo




Berrien                                                0 1.5 3     6      9       12
                                                                                    Miles
                          Case 1:11-cv-01938-RJL-BMK-CKK Document 7-3 Filed 12/02/11 Page 5Revised
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2011 Redistricting Plan
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                    2001 Redistricting Plan
